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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

 JOHN DOE,                                                   )
                                                             ) CIVIL ACTION
             Plaintiff,                                      )
 v.                                                          )
                                                             )
 PURDUE UNIVERSITY, PURDUE UNIVERSITY                        )
 BOARD OF TRUSTEES, MITCHELL ELIAS                           )
 DANIELS, JR., in his official capacity as President of      )
 Purdue University, ALYSA CHRISTMAS ROLLOCK,                 ) No. 2:17-cv-33-JPK
 in her official capacity at Purdue University,              )
 KATHERINE SERMERSHEIM, in her official capacity             )
 at Purdue University,                                       )
                                                             )
               Defendants.                                   )
                                                             )
                                                             )
                                                             )

 DEFENDANTS’ INDEX TO EXHIBITS IN SUPPORT OF ITS MOTION TO COMPEL

       Come now Defendants, the Trustees of Purdue University, Mitchell Elias Daniels, Jr.,

Alysa Christmas Rollock, and Katherine Sermersheim, by counsel, and file this Index to Exhibits

in Support of Its Motion to Compel as follows:

EXHIBIT A:            Plaintiff’s Response to Defendants’ First Discovery Requests

EXHIBIT B:            Plaintiff’s Response to Defendants’ Second Discovery Requests

EXHIBIT C:            Correspondence from Defendants’ counsel dated March 13, 2020 to
                      Plaintiff’s counsel

EXHIBIT D:            Plaintiff’s counsel’s response to Defendants’ correspondence dated
                      April 9, 2020

EXHIBIT E:            Email correspondence from Defendants’ counsel dated April 23, 2020
                      to Plaintiff’s counsel

EXHIBIT F:            Correspondence from Plaintiff’s counsel dated April 29, 2020 to
                      Defendants’ counsel


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EXHIBIT G:            Plaintiff’s Amended Rule 26 Disclosures

EXHIBIT H:            Texts Message Excerpts Between John Doe and Jane Doe

EXHIBIT I:            Excerpts from Plaintiff’s Taylor University Records




Dated: May 19, 2020                       Respectfully submitted,

                                          /s/ William P. Kealey
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                                          Tyler L. Jones (No. 34656-29)
                                          James F. Olds (No. 27989-53)
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